UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 SHIVA STEIN,                                               :
                                                            :
                   Plaintiff,                               :   Civil Action No. 22-cv-3703
                                                            :
 v.                                                         :   COMPLAINT FOR VIOLATIONS OF
                                                            :   SECTIONS 14(a) AND 20(a) OF THE
 HEALTHCARE TRUST OF AMERICA,                               :   SECURITIES EXCHANGE ACT OF
 INC., W. BRADLEY BLAIR, II, VICKI U.                       :   1934
 BOOTH, H. LEE COOPER, WARREN D.                            :
 FIX, JAY P. LEUPP, RESHMA BLOCK, and                       :   JURY TRIAL DEMANDED
 CONSTANCE B. MOORE,                                        :
                                                            :
                   Defendants.                              :
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        Shiva Stein (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against Healthcare Trust of America, Inc.

(“Healthcare Trust or the “Company”) and the members Healthcare Trust’s board of directors (the

“Board” or the “Individual Defendants” and collectively with the Company, the “Defendants”) for

their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), 15 U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9, 17 C.F.R. 240.14a-9 and 17 C.F.R. §

244.100, in connection with the proposed acquisition of Healthcare Trust by affiliates of

Healthcare Realty Trust Incorporated (“Healthcare Realty”).

        2.       Defendants have violated the above-referenced sections of the Exchange Act by

causing a materially incomplete and misleading Preliminary Proxy Statement on Schedule 14A

(the “Proxy Statement”) to be filed on May 2, 2022 with the United States Securities and Exchange
Commission (“SEC”) and disseminated to Company stockholders.               The Proxy Statement

recommends that Company stockholders vote in favor of a proposed transaction whereby the HR

Acquisition 2, LLC (“Merger Sub”), a wholly-owned subsidiary of Healthcare Trust, will merge

with and into Healthcare Realty with Healthcare Realty surviving as a wholly-owned subsidiary

of Healthcare Realty (the “Proposed Transaction”). Pursuant to the terms of the definitive

agreement and plan of merger the companies entered into on February 28, 2022 (the “Merger

Agreement”), each Healthcare Trust stockholder will receive a total implied value of $35.08 per

share comprised of a special cash dividend of $4.82 per share owned and a transaction exchange

ratio of 1:1 based on Healthcare Realty’s unaffected stock price of $30.26 on February 24, 2022

(the “Merger Consideration”).

       1.      As discussed below, Defendants have asked Healthcare Trust’s stockholders to

support the Proposed Transaction based upon the materially incomplete and misleading

representations and information contained in the Proxy Statement, in violation of Sections 14(a)

and 20(a) of the Exchange Act. Specifically, the Proxy Statement contains materially incomplete

and misleading information concerning the analyses performed by the Company’s financial

advisor, J.P. Morgan Securities LLC (“J.P. Morgan”) in support of its fairness opinion.

       2.      It is imperative that the material information that has been omitted from the Proxy

Statement is disclosed to the Company’s stockholders prior to the forthcoming stockholder vote

so that they can properly exercise their corporate suffrage rights.

       3.      For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to Healthcare Trust’s stockholders or, in the




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event the Proposed Transaction is consummated, to recover damages resulting from the

Defendants’ violations of the Exchange Act.

                                  JURISDICTION AND VENUE

        4.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        5.      Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under

traditional notions of fair play and substantial justice.

        6.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because the Company trades on the New York Stock

Exchange, headquartered in this District, and the closing of the Proposed Transaction will take

place in this District.

                                              PARTIES

        7.      Plaintiff is, and has been at all relevant times, the owner of Healthcare Trust stocks

and has held such stocks since prior to the wrongs complained of herein.

        8.      Individual Defendant W. Bradley Blair, II has served as a member of the Board

since September 2006 and is the Chairman of the Board.

        9.      Individual Defendant Vicki U. Booth has served as a member of the Board since

March 2018.

        10.     Individual Defendant H. Lee Cooper has served as a member of the Board since

January 2020.


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       11.      Individual Defendant Warren D. Fix has served as a member of the Board since

September 2006.

       12.      Individual Defendant Jay P. Leupp has served as a member of the Board since

January 2020.

       13.      Individual Defendant Reshma Block has served as a member of the Board since

March 2022.

       14.      Individual Defendant Constance B. Moore has served as a member of the Board

since March 2022.

       15.      Defendant Healthcare Trust is a Maryland corporation and maintains its principal

offices at 16435 N. Scottsdale Road, Suite 320, Scottsdale, AZ 85254. The Company’s stock

trades on the New York Stock Exchange under the symbol “HTA.”

       16.      The defendants identified in paragraphs 10-14 are collectively referred to as the

“Individual Defendants” or the “Board.”

       17.      The defendants identified in paragraphs 10-15 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

A.     The Proposed Transaction

       18.      Healthcare Trust is the largest dedicated owner and operator of MOBs in the United

States, comprising approximately 25.1 million square feet of GLA, with $7.4 billion invested

primarily in MOBs. Healthcare Trust provides real estate infrastructure for the integrated delivery

of healthcare services in highly-desirable locations. Investments are targeted to build critical mass

in 20 to 25 leading gateway markets that generally have leading university and medical institutions,

which translates to superior demographics, high-quality graduates, intellectual talent and job

growth. The strategic markets Healthcare Trust invests in support a strong, long-term demand for


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quality medical office space. Healthcare Trust utilizes an integrated asset management platform

consisting of on-site leasing, property management, engineering and building services, and

development capabilities to create complete, state of the art facilities in each market. This drives

efficiencies, strong tenant and health system relationships, and strategic partnerships that result in

high levels of tenant retention, rental growth and long-term value creation. Headquartered in

Scottsdale, Arizona, Healthcare Trust has developed a national brand with dedicated relationships

at the local level. Founded in 2006 and listed on the New York Stock Exchange in 2012, Healthcare

Trust has produced attractive returns for its stockholders that have outperformed the US REIT

index.

         19.   On February 28, 2022, the Company and Healthcare Realty jointly announced the

Proposed Transaction:

               NASHVILLE, Tenn. and SCOTTSDALE, Ariz., Feb. 28, 2022
               (GLOBE NEWSWIRE) -- Healthcare Realty Trust Incorporated
               (NYSE:HR) (“Healthcare Realty” or “HR”) and Healthcare Trust of
               America, Inc. (NYSE: HTA) (“Healthcare Trust of America” or
               “HTA”) today announced that they have agreed to enter into a
               strategic business combination. HTA shareholders will receive a
               total implied value of $35.08 per share comprised of a special cash
               dividend of $4.82 per share and a transaction exchange ratio of 1:1
               based on HR’s unaffected price of $30.26 on February 24, 2022.
               This transaction brings together two of the largest owners of medical
               office buildings, creating the preeminent, pure-play medical office
               building REIT and positions the combined company (the
               “Company”) to create long-term shareholder value. The Company
               will have a pro forma equity market capitalization of approximately
               $11.6 billion and a total enterprise value of $17.6 billion based on
               the implied values at market close on February 24, 2022.

               Leadership and Organization

               The Company will be led by the Healthcare Realty management
               team, with Todd Meredith as President and Chief Executive Officer
               and Kris Douglas as Executive Vice President and Chief Financial
               Officer. Upon completion of the transaction, the new Company will




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continue to operate with the Healthcare Realty name and trade on
the NYSE under the ticker symbol HR.

The Company will have a highly qualified, diverse Board of
Directors comprised of nine existing directors of Healthcare Realty,
three members of the Healthcare Trust of America Board, and one
new member to be mutually agreed upon by the existing HR and
HTA directors and appointed prior to closing of the transaction.
Knox Singleton, Chairman of the Healthcare Realty Board, will be
Chairman of the Company and Brad Blair, Chairman of the
Healthcare Trust of America Board, will be appointed Vice
Chairman.

Upon completion of the transaction, the Company’s headquarters
will be based in Nashville, with additional corporate offices in
Scottsdale and Charleston. The Company will implement a detailed
integration process to ensure continuity for tenants, employees and
all stakeholders.

“We are pleased to announce this strategic transaction, which unites
two highly complementary medical office portfolios and represents
a rare opportunity to create a sector-leading REIT in terms of both
size and quality. We believe all shareholders will benefit from the
Company’s expanded national footprint from HR’s Seattle portfolio
to HTA’s Boston portfolio. The Company will have unmatched
market scale in concentrated clusters, meaningful corporate and
operational synergies, and a larger development pipeline. We
believe this transaction will be accretive through near term synergies
with additional value from operational upside. It will also strengthen
the combined balance sheet, enhance liquidity and improve access
to capital. This combination provides a significant value creation
opportunity for shareholders,” stated Todd Meredith, President and
Chief Executive Officer, Healthcare Realty.

“This transformative transaction joins two premier real estate
companies with a combined value that we believe is much greater
than the sum of its parts, with the operational and financial scale
necessary to compete and drive sustainable value creation. HTA
shareholders will realize an attractive premium via a special cash
dividend while being able to fully participate in the future growth
prospects of a powerful, sector leading MOB REIT, led by a
seasoned, well-respected management team. This transaction is the
culmination of a thorough strategic review process and we are
pleased with the result for our shareholders, employees and tenants.
We are confident this is the best path forward for HTA,” stated Brad
Blair, Chairman of the Board, Healthcare Trust of America.



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    Key Benefits

    The combination of Healthcare Realty and Healthcare Trust of
    America is expected to result in significant strategic, operational and
    financial benefits to shareholders, including:

•   Creates Preeminent, High Quality MOB REIT: With 727
    properties totaling 44 million square feet, the Company will be the
    largest pure-play MOB REIT, with nearly double the square footage
    of the next largest MOB portfolio. The Company will own the
    largest portfolio of on or adjacent to hospital campus properties
    comprising 28.2 million square feet. 94% of the portfolio’s square
    feet will be in top 100 MSAs.
•   Achieves Critical Scale with Enhanced Clusters: The Company
    will own over 1 million square feet in 14 distinct markets,
    representing over 50% of the portfolio’s square feet. Nearly 80% of
    the portfolio’s square footage will be located in markets with over
    500,000 square feet. Meaningful scale in markets drives operational
    efficiencies for tenants and incremental leasing and investment
    volumes. Across the entire portfolio, the Company will have 147
    clusters, each comprised of two to eleven properties within two
    miles of each other and averaging approximately 195,000 square
    feet per cluster.
•   Broadens Relationships and Portfolio Diversification: The
    portfolio will include properties associated with 57 of the Top 100
    health systems in the U.S. on or adjacent to 231 hospital campuses.
    The top 10 tenants in the portfolio will represent 22.6% of the
    portfolio’s square feet with no single tenant representing more than
    5.2%.
•   Expands Development Pipeline: The Company will have an
    embedded development pipeline in excess of $2 billion,
    concentrated in high growth markets such as Seattle, Houston,
    Denver, Dallas and Raleigh.
•   Material Cost Synergies: The Company expects to realize annual
    run rate cost synergies of $33 – 36 million within 12 months of
    closing from the elimination of duplicative corporate and public
    company costs.
•   Accretive with Operational Upside: The transaction is expected to
    be accretive to Healthcare Realty’s per share results assuming full
    realization of synergies. Longer term, the Company expects to
    benefit from enhanced leasing volumes to drive occupancy and rent
    growth across the portfolio as well as property level cost savings.



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•   Greater Access to Capital and Balance Sheet Strength: The
    Company intends to maintain a flexible, investment grade-rated
    balance sheet with a well staggered debt maturity profile. With
    enhanced size and scale, the Company expects to benefit from
    greater liquidity, higher index weightings and reduced borrowing
    costs over time.
    Transaction Structure

    At closing, each share of HR common stock will be exchanged for
    one share of HTA common stock, at a fixed ratio. In addition, a
    special cash dividend of $4.82 per share will be distributed to HTA
    shareholders. Taken together and based on HR’s share price at the
    close of markets on February 24, 2022, HTA shareholders will
    realize an implied value of $35.08 per HTA share, representing an
    18.2% premium to HTA’s share price at the close of markets on
    February 24, 2022. This combination is structured as a reverse
    merger whereby Healthcare Trust of America will be the corporate
    successor and the Company’s name will continue as Healthcare
    Realty Trust Incorporated. Pro forma for the transaction HR and
    HTA shareholders will own 39% and 61% of the Company,
    respectively.

    The special cash dividend of approximately $1.1 billion will be
    financed through joint venture transactions and asset sales.
    JPMorgan Chase Bank, N.A. has provided a commitment letter to
    Healthcare Trust of America for a $1.7 billion debt financing for the
    transaction upon the terms and conditions set forth in the letter.

    The transaction is expected to close in the third quarter of 2022,
    subject to customary closing conditions, including the approval of
    both Healthcare Realty and Healthcare Trust of America
    shareholders. The transaction was unanimously approved by the
    Board of Directors of HR and the Board of Directors of HTA.

    Advisors

    Citigroup Global Markets Inc. is serving as lead financial advisor,
    Scotiabank is serving as financial advisor, and Hunton Andrews
    Kurth LLP is acting as legal advisor to Healthcare Realty. J.P.
    Morgan Securities LLC is acting as exclusive financial advisor and
    McDermott Will & Emery LLP is acting as legal advisor to
    Healthcare Trust of America.

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       20.     The Board has unanimously agreed to the Proposed Transaction. It is therefore

imperative that Healthcare Trust’s stockholders are provided with the material information that

has been omitted from the Proxy Statement, so that they can meaningfully assess whether or not

the Proposed Transaction is in their best interests prior to the forthcoming stockholder vote.

B.     The Materially Incomplete and Misleading Proxy Statement

       21.     On May 2, 2022, Healthcare Trust filed the Proxy Statement with the SEC in

connection with the Proposed Transaction. The Proxy Statement was furnished to the Company’s

stockholders and solicits the stockholders to vote in favor of the Proposed Transaction. The

Individual Defendants were obligated to carefully review the Proxy Statement before it was filed

with the SEC and disseminated to the Company’s stockholders to ensure that it did not contain any

material misrepresentations or omissions. However, the Proxy Statement misrepresents and/or

omits material information that is necessary for the Company’s stockholders to make an informed

decision concerning whether to vote in favor of the Proposed Transaction, in violation of Sections

14(a) and 20(a) of the Exchange Act.

Omissions and/or Material Misrepresentations Concerning Financial Projections

       22.     The Proxy Statement fails to provide material information concerning financial

projections by Healthcare Trust management and relied upon by J.P. Morgan in its analyses. The

Proxy Statement discloses management-prepared financial projections for the Company which are

materially misleading. The Proxy Statement indicates that in connection with the rendering of its

fairness opinion, that the Company prepared certain non-public financial forecasts (the “Company

Projections”) and provided them to the Board and J.P. Morgan with forming a view about the

stand-alone valuation of the Company. Accordingly, the Proxy Statement should have, but fails to

provide, certain information in the projections that Healthcare Trust management provided to the

Board and the Financial Advisors. Courts have uniformly stated that “projections … are probably


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among the most highly-prized disclosures by investors. Investors can come up with their own

estimates of discount rates or [] market multiples. What they cannot hope to do is replicate

management’s inside view of the company’s prospects.” In re Netsmart Techs., Inc. S’holders

Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

       23.     For the Company Projections, the Proxy Statement provides values for non-GAAP

(Generally Accepted Accounting Principles) financial metrics: Net Operating Income, EBITDA.

Funds from Operations, Funds Available for Distribution, FFO/Share, FAD/Share, and Unlevered

Free Cash Flow, but fails to provide line items used to calculate the metrics and/or a reconciliation

of the non-GAAP metrics to their most comparable GAAP measures, in direct violation of

Regulation G and consequently Section 14(a).

       24.     When a company discloses non-GAAP financial measures in a Proxy Statement

that were relied on by a board of directors to recommend that stockholders exercise their corporate

suffrage rights in a particular manner, the company must, pursuant to SEC regulatory mandates,

also disclose all projections and information necessary to make the non-GAAP measures not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial measure disclosed or released with

the most comparable financial measure or measures calculated and presented in accordance with

GAAP. 17 C.F.R. § 244.100.

       25.     The SEC has noted that:

               companies should be aware that this measure does not have a
               uniform definition and its title does not describe how it is calculated.
               Accordingly, a clear description of how this measure is calculated,
               as well as the necessary reconciliation, should accompany the
               measure where it is used. Companies should also avoid
               inappropriate or potentially misleading inferences about its
               usefulness. For example, "free cash flow" should not be used in a
               manner that inappropriately implies that the measure represents the



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               residual cash flow available for discretionary expenditures, since
               many companies have mandatory debt service requirements or other
               non-discretionary expenditures that are not deducted from the
               measure.1

       26.     Thus, to cure the Proxy Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Proxy Statement,

Defendants must provide a reconciliation table of the non-GAAP measures to the most comparable

GAAP measures to make the non-GAAP metrics included in the Proxy Statement not misleading.

Omissions and/or Material Misrepresentations Concerning Financial Analyses

       27.     With respect to J.P. Morgan’s Public Trading Multiples analysis, the Proxy

Statement fails to disclose the financial metrics and multiples for each company selected for the

analysis.

       28.     With respect to J.P. Morgan’s Precedent Transaction Multiples Analysis, the Proxy

Statement fails to disclose the financial metrics and multiples for each transaction selected for the

analysis.

       29.     With respect to J.P. Morgan’s Discounted Cash Flow Analysis, the Proxy Statement

fails to disclose: (i) the range of terminal values for Healthcare Trust and Healthcare Realty; (ii)

the inputs and assumptions underlying the use of perpetual growth rates of 2.25% to 2.75%; (iii)

the inputs and assumptions underlying the use of the range of discount rates of 6.65% to 7.15%;

(iv) the Company’s and Healthcare Realty’s weighted average cost of capital; and (v) net debt of

the Company and Healthcare Realty as of December 31, 2021

       30.     In sum, the omission of the above-referenced information renders statements in the

Proxy Statement materially incomplete and misleading in contravention of the Exchange Act.



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 U.S. Securities and Exchange Commission, Non-GAAP Financial Measures, last updated April
4, 2018, available at: https://www.sec.gov/divisions/corpfin/guidance/nongaapinterp.htm

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Absent disclosure of the foregoing material information prior to the special stockholder meeting

to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed decision

regarding whether to vote in favor of the Proposed Transaction, and she is thus threatened with

irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          31.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          32.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          33.   Defendants have issued the Proxy Statement with the intention of soliciting

stockholder support for the Proposed Transaction.          Each of the Defendants reviewed and

authorized the dissemination of the Proxy Statement and the use of their name in the Proxy

Statement, which fails to provide critical information regarding, among other things, the financial

projections that were prepared by the Company and relied upon by the Board in recommending

the Company’s stockholders vote in favor of the Proposed Transaction.

          34.   In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed



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to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Proxy Statement, but nonetheless failed to obtain and disclose such

information to stockholders although they could have done so without extraordinary effort.

          35.   Defendants were, at the very least, negligent in preparing and reviewing the Proxy

Statement. The preparation of a Proxy Statement by corporate insiders containing materially false

or misleading statements or omitting a material fact constitutes negligence. Defendants were

negligent in choosing to omit material information from the Proxy Statement or failing to notice

the material omissions in the Proxy Statement upon reviewing it, which they were required to do

carefully. Indeed, Defendants were intricately involved in the process leading up to the signing of

the Merger Agreement and the preparation and review of strategic alternatives.

          36.   The misrepresentations and omissions in the Proxy Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate

remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.

                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          37.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          38.   The Individual Defendants acted as controlling persons of Healthcare Trust within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions

as directors of Healthcare Trust, and participation in and/or awareness of the Company’s



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operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy Statement filed with the SEC, they had the power to influence and control and did

influence and control, directly or indirectly, the decision making of Healthcare Trust, including

the content and dissemination of the various statements that Plaintiff contends are materially

incomplete and misleading.

       39.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       40.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of Healthcare Trust, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The omitted information identified above was

reviewed by the Board prior to voting on the Proposed Transaction. The Proxy Statement at issue

contains the unanimous recommendation of the Board to approve the Proposed Transaction. The

Individual Defendants were thus directly involved in the making of the Proxy Statement.

       41.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Merger

Agreement. The Proxy Statement purports to describe the various issues and information that the

Individual Defendants reviewed and considered. The Individual Defendants participated in

drafting and/or gave their input on the content of those descriptions.

       42.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.




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          43.    As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

          44.    Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                      RELIEF REQUESTED

          WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:

          A.     Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Proxy Statement;

          B.     Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;

          C.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.




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                                      JURY DEMAND

     Plaintiff demands a trial by jury.

Dated: May 6, 2022                             MELWANI & CHAN LLP

                                          By: /s/ Gloria Kui Melwani
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